 Fill in this information to identify the case:

              Aspen Lakes Golf Course, L.L.C.
  Debtor name _________________________________________________________________


  United States Bankruptcy Court for the:________________________________________
                                          District of Oregon

  Case number (If known):               18-32265
                                       _________________________


                                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                             12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                               435,312.00
                                                                                                                                                                                                       $ ________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                              690,003.12
                                                                                                                                                                                                       $ ________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                              1,125,315.12
                                                                                                                                                                                                       $ ________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                             4,906,266.00
                                                                                                                                                                                                       $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                79,386.26
                                                                                                                                                                                                       $ ________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                                   +         1,985,849.41
                                                                                                                                                                                                       $ ________________
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................




4. Total liabilities ...........................................................................................................................................................................             6,971,501.67
                                                                                                                                                                                                       $ ________________
     Lines 2 + 3a + 3b




                                                             Summary
                                                             Case    of Assets and Liabilities Doc
                                                                  18-32265-tmb11               for Non-Individuals
                                                                                                     65 Filed 07/25/18
  Fill in this information to identify the case:

               Aspen Lakes Golf Course, L.L.C.
  Debtor name __________________________________________________________________

  United States Bankruptcy Court for the:________________________________________
                                          District of Oregon

  Case number (If known):      18-32265
                              _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

         No. Go to Part 2.
   ✘
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                                3,336.59

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)           Type of account                      Last 4 digits of account number
   3.1. _________________________________________________
        First Interstate Bank                             ______________________
                                                           Checking                            ____________________
                                                                                               1620                              $______________________
                                                                                                                                               -42,324.52
   3.2. _________________________________________________
        First Interstate Bank                             ______________________
                                                           Money Market Account                ____________________
                                                                                               7997                              $______________________
                                                                                                                                               45,730.41


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1
                                                                                                                                 $______________________
                                                                                                                                                6,742.48
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   ✘
         No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


                                                           Schedule A/B: Assets  Real and Personal Property
                                             Case 18-32265-tmb11              Doc 65         Filed 07/25/18
Debtor          Aspen Lakes Golf Course, L.L.C.
               _______________________________________________________                                                 18-32265
                                                                                                Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                  $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
    ✘ Yes. Fill in the information below.
    
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:                        5,514.09 – ___________________________
                                 ____________________________                                 0.00   = ........                 $______________________
                                                                                                                                                5,514.09
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:                          10,449.88 – ___________________________
                                  ___________________________                             7,296.08   = ........                 $______________________
                                                                                                                                                3,153.80
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
                                                                                                                                                8,667.89
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    ✘ No. Go to Part 5.
    
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________
                                                                                                                                 $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.________________________________________________________________________________                ______________________    $_______________________
   16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



                                                             Schedule A/B: Assets  Real and Personal Property
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Debtor
                Aspen Lakes Golf Course, L.L.C.
                _______________________________________________________                                          18-32265
                                                                                          Case number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
    ✘
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used        Current value of
                                                    physical inventory    debtor's interest     for current value            debtor’s interest
                                                                          (Where available)
19. Raw materials
    Food & Beverage                                                                17,028.31    Book value                                17,028.31
   ________________________________________         ______________       $__________________    ________________________    $______________________
                                                    MM / DD / YYYY

20. Work in progress
   ________________________________________         ______________       $__________________    ________________________    $______________________
                                                    MM / DD / YYYY

21. Finished goods, including goods held for resale
   Golf Shop                                                                        31,232.44   Book value                                 31,232.44
   ________________________________________         ______________       $__________________    ________________________    $______________________
                                                    MM / DD / YYYY
22. Other inventory or supplies
   ________________________________________         ______________       $__________________    ________________________    $______________________
                                                    MM / DD / YYYY


23. Total of Part 5                                                                                                                         48,260.75
                                                                                                                            $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
    ✘
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
    ✘
         Yes. Book value _______________
                                 $17,028.31       Valuation method____________________
                                                                  Book value           Current value______________
                                                                                                          $17,028.31

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
    ✘
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    ✘
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used        Current value of debtor’s
                                                                          debtor's interest     for current value            interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________       $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________          $________________     ____________________       $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________       $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________       $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________      $______________________


                                                           Schedule A/B: Assets  Real and Personal Property
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               _______________________________________________________                                               18-32265
                                                                                              Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
    ✘ Yes. Fill in the information below.
    

   General description                                                        Net book value of     Valuation method             Current value of debtor’s
                                                                              debtor's interest     used for current value       interest
                                                                              (Where available)

39. Office furniture
    Furniture
   ______________________________________________________________              $________________   Book value
                                                                                                   _________________________ $______________________
                                                                                                                                                0.00

40. Office fixtures
                                                                                                    Book value
    Fixtures
   ______________________________________________________________              $________________   _________________________   $______________________
                                                                                                                                                  0.00


41. Office equipment, including all computer equipment and
    communication systems equipment and software
    Equipment                                                                               0.00                                                  0.00
   ______________________________________________________________              $________________    Book value
                                                                                                   _________________________   $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________      ____________________      $______________________
   42.2___________________________________________________________             $________________      ____________________      $______________________
   42.3___________________________________________________________             $________________      ____________________      $______________________

43. Total of Part 7.
                                                                                                                                                   0.00
                                                                                                                                $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    ✘ No
    
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
    ✘ No
    
     Yes

                                                            Schedule A/B: Assets  Real and Personal Property
                                         Case 18-32265-tmb11                    Doc 65       Filed 07/25/18
                Aspen Lakes Golf Course, L.L.C.                                                               18-32265
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    ✘ Yes. Fill in the information below.
    

   General description                                                     Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

        1986 Ford Ranger 1FTCR11T6GUA95510
   47.1___________________________________________________________                       0.00
                                                                            $________________    Book value
                                                                                                 ________________________                        0.00
                                                                                                                              $______________________
        2000 Cargo Trailer 4HXRC202X1C029498                                             0.00    Book value                                      0.00
   47.2___________________________________________________________          $________________    ________________________     $______________________
        2000 Chevrolet S10 Pickup 1GDT14WXYB30039                                        0.00    Book value                                        0.00
   47.3___________________________________________________________          $________________    ________________________     $______________________

   47.4___________________________________________________________          $________________    ________________________     $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________     ________________________     $______________________

   48.2__________________________________________________________          $________________     ________________________     $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________     ________________________     $______________________

   49.2__________________________________________________________          $________________     ________________________     $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   Golf and restaurant equipment                                                   625,332.00                                              625,332.00
   ______________________________________________________________          $________________     ________________________     $______________________


51. Total of Part 8.                                                                                                                         625,332.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
    ✘
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
    ✘
         No
         Yes




                                                          Schedule A/B: Assets  Real and Personal Property
                                        Case 18-32265-tmb11                  Doc 65       Filed 07/25/18
                 Aspen Lakes Golf Course, L.L.C.                                                                      18-32265
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    ✘
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent        Net book value of     Valuation method used        Current value of
    Include street address or other description such as    of debtor’s interest     debtor's interest     for current value            debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property              (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
           Golf course improvements
    55.1                                                    Owner
                                                            _________________              435,312.00
                                                                                    $_______________    _______________________
                                                                                                                       Book value $_____________________
                                                                                                                                              435,312.00

           ________________________________________

    55.2                                                    _________________       $_______________    _______________________ $_____________________

           ________________________________________

    55.3                                                    _________________       $_______________    _______________________ $_____________________
           ________________________________________


56. Total of Part 9.                                                                                                                              435,312.00
                                                                                                                                      $_____________________
    Add the current value on lines 55.1 through 55.3 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    ✘
          No
          Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    ✘
          No
          Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    ✘
     Yes. Fill in the information below.
      General description                                                           Net book value of     Valuation method             Current value of
                                                                                    debtor's interest     used for current value       debtor’s interest
                                                                                    (Where available)
60. Patents, copyrights, trademarks, and trade secrets


     ______________________________________________________________               $____________________ _________________________ $_____________________
61. Internet domain names and websites
     Website                                                                                             Estimate

     ______________________________________________________________               $____________________ _________________________     $_____________________
                                                                                                                                                     1,000.00
62. Licenses, franchises, and royalties

     ______________________________________________________________               $____________________ _________________________     $_____________________
63. Customer lists, mailing lists, or other compilations

     ______________________________________________________________               $____________________ _________________________     $_____________________
64. Other intangibles, or intellectual property
     Software                                                                                            Estimate

     ______________________________________________________________               $ ___________________
                                                                                               15,453.00 _________________________    $_____________________
                                                                                                                                                        0.00
65. Goodwill

     ______________________________________________________________               $ ___________________ _________________________     $_____________________

66. Total of Part 10.
    Add lines 60 through 65. Copy the total to line 89.                                                                                $_____________________
                                                                                                                                                     1,000.00



                                                               Schedule A/B: Assets  Real and Personal Property
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Debtor           Aspen Lakes Golf Course, L.L.C.
                _______________________________________________________                                                18-32265
                                                                                                Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    ✘
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
    ✘
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    ✘
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    ✘
         No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                    _______________     –   __________________________         =   $_____________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

                                                            Schedule A/B: Assets  Real and Personal Property
                                               Case 18-32265-tmb11            Doc 65           Filed 07/25/18
                  Aspen Lakes Golf Course, L.L.C.                                                                                             18-32265
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                                6,742.48
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_________________


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_________________

                                                                                                                8,667.89
82. Accounts receivable. Copy line 12, Part 3.                                                         $_________________


83. Investments. Copy line 17, Part 4.                                                                 $_________________
                                                                                                               48,260.75
84. Inventory. Copy line 23, Part 5.                                                                   $_________________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_________________

86. Office furniture, fixtures, and equipment; and collectibles.                                                    0.00
                                                                                                       $_________________
    Copy line 43, Part 7.
                                                                                                              625,332.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_________________

                                                                                                                                                   435,312.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                1,000.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_________________


90. All other assets. Copy line 78, Part 11.                                                      +    $_________________


                                                                                                                                  +
                                                                                                              690,003.12                           435,312.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_________________             91b.
                                                                                                                                             $________________




                                                                                                                                                                       1,125,315.12
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




                                                                          Schedule A/B: Assets  Real and Personal Property
                                                   Case 18-32265-tmb11                             Doc 65             Filed 07/25/18
  )LOOLQWKLVLQIRUPDWLRQWRLGHQWLI\WKHFDVH

               Aspen Lakes Golf Course, L.L.C.
  'HEWRUQDPH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH District
                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                    of Oregon

                                 18-32265
  &DVHQXPEHU,INQRZQ      BBBBBBBBBBBBBBBBBBBBBBBBB                                                                                             &KHFNLIWKLVLVDQ
                                                                                                                                                              DPHQGHGILOLQJ
  2IILFLDO)RUP'
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             
  %HDVFRPSOHWHDQGDFFXUDWHDVSRVVLEOH

  'RDQ\FUHGLWRUVKDYHFODLPVVHFXUHGE\GHEWRU¶VSURSHUW\"
        1R&KHFNWKLVER[DQGVXEPLWSDJHRIWKLVIRUPWRWKHFRXUWZLWKGHEWRU¶VRWKHUVFKHGXOHV'HEWRUKDVQRWKLQJHOVHWRUHSRUWRQWKLVIRUP
     
     ✘   <HV)LOOLQDOORIWKHLQIRUPDWLRQEHORZ

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                   Column A                    Column B
  /LVWLQDOSKDEHWLFDORUGHUDOOFUHGLWRUVZKRKDYHVHFXUHGFODLPV,IDFUHGLWRUKDVPRUHWKDQRQH
     VHFXUHGFODLPOLVWWKHFUHGLWRUVHSDUDWHO\IRUHDFKFODLP                                                                   $PRXQWRIFODLP             9DOXHRIFROODWHUDO
                                                                                                                                   'RQRWGHGXFWWKHYDOXH    WKDWVXSSRUWVWKLV
                                                                                                                                   RIFROODWHUDO              FODLP
 &UHGLWRU¶VQDPH                                                'HVFULEHGHEWRU¶VSURSHUW\WKDWLVVXEMHFWWRDOLHQ
B_______BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB___BBBBBBBBB_
GT Capital                                                         Golf course improvements - 16900 Aspen Lakes Dr, Sisters BBBBBBBBBBBBBBBBBB
                                                                                                                                    4,901,141.00              BBBBBBBBBBBBBBBBB
                                                                                                                                                                     1,060,644.00
                                                                   OR 97759
 &UHGLWRU¶VPDLOLQJDGGUHVV
101 N Main Ave
Suite 325                                                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
Sioux Falls, SD 57104
                                                                  'HVFULEHWKHOLHQ

____BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                    Other
                                                                  ,VWKHFUHGLWRUDQLQVLGHURUUHODWHGSDUW\"
     &UHGLWRU¶VHPDLODGGUHVVLINQRZQ
                                                                  
                                                                  ✘    1R
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      <HV

     'DWHGHEWZDVLQFXUUHG BBBBBBBBBBBBBBBBBB
                              2/27/2006                          ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
                                                                      1R
     /DVWGLJLWVRIDFFRXQW
                                                                  
                                                                  ✘    <HV)LOORXWSchedule H: Codebtors2IILFLDO)RUP+
     QXPEHU                    BBBBBBBBBBBB
     'RPXOWLSOHFUHGLWRUVKDYHDQLQWHUHVWLQWKH               $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
     VDPHSURSHUW\"                                               &KHFNDOOWKDWDSSO\
     
     ✘ 1R                                                            &RQWLQJHQW
      <HV6SHFLI\HDFKFUHGLWRULQFOXGLQJWKLVFUHGLWRU           8QOLTXLGDWHG
             DQGLWVUHODWLYHSULRULW\                               'LVSXWHG



 &UHGLWRU¶VQDPH                                              'HVFULEHGHEWRU¶VSURSHUW\WKDWLVVXEMHFWWRDOLHQ
__________BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
John Deere Financial                                              8800 Terraincut Mower
                                                                                                                                   BBBBBBBBBBBBBBBBBB
                                                                                                                                              5,125.00        BBBBBBBBBBBBBBBBB
                                                                                                                                                                       10,000.00

&UHGLWRU¶VPDLOLQJDGGUHVV
PO Box 6600
Johnston, IA 50131-6600                                           BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                  'HVFULEHWKHOLHQ
                                                                   BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                   UCC
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                      ,VWKHFUHGLWRUDQLQVLGHURUUHODWHGSDUW\"
CUHGLWRU¶VHPDLODGGUHVVLINQRZQ                               
                                                                  ✘    1R
                                                                      <HV
      BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                  ,VDQ\RQHHOVHOLDEOHRQWKLVFODLP"
      'DWHGHEWZDVLQFXUUHG 4/1/2016
                                 BBBBBBBBBBBBBBBBBB              
                                                                  ✘    1R
     /DVWGLJLWVRIDFFRXQW
                                                                      <HV)LOORXWSchedule H: Codebtors2IILFLDO)RUP+
     QXPEHU                    BBBBBBBBBBBB

     'RPXOWLSOHFUHGLWRUVKDYHDQLQWHUHVWLQWKH           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
     VDPHSURSHUW\"                                           &KHFNDOOWKDWDSSO\

     
     ✘ 1R                                                        &RQWLQJHQW
      <HV+DYH\RXDOUHDG\VSHFLILHGWKHUHODWLYHSULRULW\"     8QOLTXLGDWHG
                                                                  'LVSXWHG
        1R 6SHFLI\HDFKFUHGLWRULQFOXGLQJWKLV
                 FUHGLWRUDQGLWVUHODWLYHSULRULW\



            <HV7KHUHODWLYHSULRULW\RIFUHGLWRUVLV
                 VSHFLILHGRQOLQHVBBBBB

  7RWDORIWKHGROODUDPRXQWVIURP3DUW&ROXPQ$LQFOXGLQJWKHDPRXQWVIURPWKH$GGLWLRQDO                                       4,906,266.00
                                                                                                                                   BBBBBBBBBBBBBBBB
     3DJHLIDQ\

                                                    6FKHGXOH'&UHGLWRUV:KR+DYH&ODLPV6HFXUHGE\3URSHUW\
                                                   Case  18-32265-tmb11 Doc 65 Filed 07/25/18
   Fill in this information to identify the case:

   Debtor             __________________________________________________________________
                       Aspen Lakes Golf Course, L.L.C.

   United States Bankruptcy Court for the: _______________________________________
                                           District of Oregon

   Case number         ___________________________________________
                        18-32265
      (If known)

                                                                                                                                                    Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:           List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      ✘
       Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
      3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                        Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: $______________________
                                                                                                                                           60.17   $_________________
                                                                                                                                                                60.17
      Anderson, Maddison M
      __________________________________________________________________   Check all that apply.
       1121 E Timber Pine Drive                                               Contingent
       Sisters, OR 97759                                                      Unliquidated
      ___________________________________________                             Disputed
      Date or dates debt was incurred                                      Basis for the claim:
                                                                           _______________________________________________
                                                                            Employee
      _________________________________
      43278

      Last 4 digits of account                                             Is the claim subject to offset?
      number      _______________                                          ✘ No
                                                                            Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
                                 4A


2.2 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: $______________________
                                                                                                                                           59.97   $_________________
                                                                                                                                                                59.97
      Berg, Jack E
      __________________________________________________________________   Check all that apply.
       PO Box 1030                                                            Contingent
       Sisters, OR 97759                                                      Unliquidated
      ___________________________________________                             Disputed
      Date or dates debt was incurred                                      Basis for the claim:
                                                                           _______________________________________________
                                                                            Employee
      _________________________________
      43278

      Last 4 digits of account                                             Is the claim subject to offset?
      number      _______________                                          ✘ No
                                                                            Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
                                 4A


2.3 Priority creditor’s name and mailing address                           As of the petition filing date, the claim is: $______________________
                                                                                                                                          169.02   $_________________
                                                                                                                                                               169.02
      Boxwell, Jackson C
      __________________________________________________________________   Check all that apply.
       349 S. Pine St                                                         Contingent
       Sisters, OR 97759                                                      Unliquidated
      ___________________________________________                             Disputed
      Date or dates debt was incurred                                      Basis for the claim:
                                                                           _______________________________________________
                                                                            Employee
      _________________________________
      43278

      Last 4 digits of account                                             Is the claim subject to offset?
      number      _______________                                          ✘ No
                                                                            Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
                                 4A




  O                                                            Schedule E/F: Creditors
                                                    Case 18-32265-tmb11         Doc 65 Who Have Unsecured
                                                                                            Filed         &ODLPV
                                                                                                   07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  4           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                532.10   $_________________
                                                                                                                                                      532.10
         Carmack, Cody R                                      As of the petition filing date, the claim is:
         65235 76th                                           Check all that apply.
         Bend, OR 97701                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  5           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               277.20    $_________________
                                                                                                                                                     277.20
         Chamberlin, Diana                                    As of the petition filing date, the claim is:
         14590 Mountain View Loop                             Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  6            Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                16.30    $_________________
                                                                                                                                                      16.30
         Cyrus, Alexander B.                                  As of the petition filing date, the claim is:
                                                              Check all that apply.
         17430 Hwy 126
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  7            Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                           1,953.63      $_________________
                                                                                                                                                   1,953.63
         Cyrus, Kelly K.                                      Check all that apply.
         16925 Green Drake Court
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount



2._____
  8           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                 5.02   $_________________
                                                                                                                                                      5.02
         Cyrus, William                                       As of the petition filing date, the claim is:
         16925 Green Drake Court                              Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  9           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               274.12   $_________________
                                                                                                                                                    274.12
         Daley, Alexandria M                                  As of the petition filing date, the claim is:
         1015 NW Roanoke Av. Apt 8                            Check all that apply.
         Bend, OR 97703                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  10           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               196.49   $_________________
                                                                                                                                                    196.49
         Eagan, Bradley E                                     As of the petition filing date, the claim is:
                                                              Check all that apply.
         15945 Pilot Drive
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  11           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             212.07     $_________________
                                                                                                                                                    212.07
         Ferwalt, Ethan W                                     Check all that apply.
         PO Box 1883
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  12          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                936.36   $_________________
                                                                                                                                                      936.36
         Fowler, Brian G.                                     As of the petition filing date, the claim is:
         418 SE Airpark Dr.                                   Check all that apply.
         Bend, OR 97701                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  13          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                             1,386.00    $_________________
                                                                                                                                                   1,386.00
         Garland, Derek                                       As of the petition filing date, the claim is:
         1557 SW 25th St                                      Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  14           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                86.72    $_________________
                                                                                                                                                      86.72
         Goodwin, Colton J.                                   As of the petition filing date, the claim is:
                                                              Check all that apply.
         69889 Meadow View Road
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  15           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             374.90      $_________________
                                                                                                                                                     374.90
         Green, Sage T.G.                                     Check all that apply.
         180 NW 27th Ct
         Redmond, OR 97756
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  16          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                191.24   $_________________
                                                                                                                                                      191.24
         Greener, Joel E                                      As of the petition filing date, the claim is:
         480 NW 16th Place                                    Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  17          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               323.40    $_________________
                                                                                                                                                     323.40
         Hall, William                                        As of the petition filing date, the claim is:
         19329 Indian Summer Road                             Check all that apply.
         Bend, OR 97702                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  18           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               330.21    $_________________
                                                                                                                                                     330.21
         Hawes, Colby A                                       As of the petition filing date, the claim is:
                                                              Check all that apply.
         224 SE 5th
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  19           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                              18.35      $_________________
                                                                                                                                                      18.35
         Head, Sydner                                         Check all that apply.
         69350 Greenridge Loop
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount



2._____
  20          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                41.16   $_________________
                                                                                                                                                     41.16
         Helm, Brandon                                        As of the petition filing date, the claim is:
         17374 County Rd 9                                    Check all that apply.
         Richmond, MN 56368                                      Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  21          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                 2.67   $_________________
                                                                                                                                                      2.67
         Hills, Benjamin                                      As of the petition filing date, the claim is:
         17278 Kent Rd                                        Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  22           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               165.49   $_________________
                                                                                                                                                    165.49
         Hodges, Randall                                      As of the petition filing date, the claim is:
                                                              Check all that apply.
         P.O. Box 863
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  23           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                               8.20     $_________________
                                                                                                                                                      8.20
         Horner, Ty                                           Check all that apply.
         14861 Crupper
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  24          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                352.66   $_________________
                                                                                                                                                      352.66
         Houck, Stephen L                                     As of the petition filing date, the claim is:
         3560 NW Ice Ave.                                     Check all that apply.
         Terrebonne, OR 97759                                    Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  25          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               132.43    $_________________
                                                                                                                                                     132.43
         Hull, Jennifer                                       As of the petition filing date, the claim is:
         2020 NE Linea Drive 168Q                             Check all that apply.
         Bend, OR 97701                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  26           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               371.73    $_________________
                                                                                                                                                     371.73
         Hummel, Sierra B                                     As of the petition filing date, the claim is:
                                                              Check all that apply.
         PO Box 282
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  27           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                               1.85      $_________________
                                                                                                                                                       1.85
         Hummel, Sydney E                                     Check all that apply.
         PO Box 282
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  28          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                             56,864.52   $_________________
                                                                                                                                                   56,864.52
         Internal Revenue Service                             As of the petition filing date, the claim is:
         Ogden, UT 84201                                      Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Taxes owed to governmental unit
        _________________________________
         40086

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   8


2._____
  29          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                             1,429.40    $_________________
                                                                                                                                                   1,429.40
         Internal Revenue Service                             As of the petition filing date, the claim is:
         Ogden, UT 84201                                      Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Taxes owed to governmental unit
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   8


2.______
  30           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                68.31    $_________________
                                                                                                                                                      68.31
         Jordan, Destiny                                      As of the petition filing date, the claim is:
                                                              Check all that apply.
         1747 NE 7th Street
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  31           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                           1,552.76      $_________________
                                                                                                                                                   1,552.76
         Knapp, Darrell E.                                    Check all that apply.
         1110 S. W. 31st "B"
         Redmond, OR 97756
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  32          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                856.65   $_________________
                                                                                                                                                      856.65
         Knapp, Lena A.                                       As of the petition filing date, the claim is:
         1110 SW 31st B                                       Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  33          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               182.87    $_________________
                                                                                                                                                     182.87
         Knudsen, Alyssa J                                    As of the petition filing date, the claim is:
         67035 Rock Island Ln.                                Check all that apply.
         Bend, OR 97703                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  34           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                46.34    $_________________
                                                                                                                                                      46.34
         Kramer, Christifer R                                 As of the petition filing date, the claim is:
                                                              Check all that apply.
         2968 SW Obsidian Ln.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  35           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             287.94      $_________________
                                                                                                                                                     287.94
         Kumle, Vicky F                                       Check all that apply.
         62936 Florence Dr
         Bend, OR 97701
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  36          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                521.10   $_________________
                                                                                                                                                      521.10
         Mallory, Valerie J                                   As of the petition filing date, the claim is:
         1858 NE 7th St.                                      Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  37          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               207.30    $_________________
                                                                                                                                                     207.30
         Malone, Robert                                       As of the petition filing date, the claim is:
         1690 Aspen Lakes Dr                                  Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  38           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               330.20    $_________________
                                                                                                                                                     330.20
         McCain-Aldrich, Evin                                 As of the petition filing date, the claim is:
                                                              Check all that apply.
         unavailable
         , OR                                                    Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  39           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             644.80      $_________________
                                                                                                                                                     644.80
         McCain-Aldrich, Michael                              Check all that apply.
         PO Box 1403
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  40          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                288.00   $_________________
                                                                                                                                                      288.00
         Mitchell, Nolan B                                    As of the petition filing date, the claim is:
         69339 Hinkle Butte                                   Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  41          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                             1,010.80    $_________________
                                                                                                                                                   1,010.80
         Mitchell, Pamela K                                   As of the petition filing date, the claim is:
         69339 Hinkle Butte                                   Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  42           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               179.89    $_________________
                                                                                                                                                     179.89
         Montecinos, Nancy                                    As of the petition filing date, the claim is:
                                                              Check all that apply.
         1100 E Highway 20 Spc 2A
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  43           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             270.64      $_________________
                                                                                                                                                     270.64
         Nance, Pam S.                                        Check all that apply.
         7465 NW Eagle Dr.
         Redmond, OR 97756
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount



2._____
  44          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                84.36   $_________________
                                                                                                                                                     84.36
         Newport, Nickalaus A                                 As of the petition filing date, the claim is:
         734 E Green Ridge Ave                                Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  45          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               252.66   $_________________
                                                                                                                                                    252.66
         Nicklous, Samuel J                                   As of the petition filing date, the claim is:
         18365 Fryrear Ranch Rd                               Check all that apply.
         Bend, OR 97703                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  46           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                60.21   $_________________
                                                                                                                                                     60.21
         Peplin, Joshua G                                     As of the petition filing date, the claim is:
                                                              Check all that apply.
         1310 NW 57th St
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  47           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             351.96     $_________________
                                                                                                                                                    351.96
         Perepchuk, Jordan P                                  Check all that apply.
         232 NW Fir Avenue
         Redmond, OR 97756
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim              Priority amount



2._____
  48          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                 7.79   $_________________
                                                                                                                                                      7.79
         Powell, Tyler                                        As of the petition filing date, the claim is:
         3031 NW 19th St.                                     Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  49          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               266.39   $_________________
                                                                                                                                                    266.39
         Pruitt, Howie                                        As of the petition filing date, the claim is:
         60756 Currant Way                                    Check all that apply.
         Bend, OR 97702                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  50           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                96.98   $_________________
                                                                                                                                                     96.98
         Rose, Gary                                           As of the petition filing date, the claim is:
                                                              Check all that apply.
         10129 Middle Ridge Dr
         Las Vegas, NV 89134                                     Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  51           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             257.17     $_________________
                                                                                                                                                    257.17
         Rush, Isaiah P                                       Check all that apply.
         1255 W. McKinney Butte Rd Bldg A
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  52          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                243.18   $_________________
                                                                                                                                                      243.18
         Staggs, Dale A                                       As of the petition filing date, the claim is:
         19115 Choctaw Rd                                     Check all that apply.
         Bend, OR 97702                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  53          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               235.76    $_________________
                                                                                                                                                     235.76
         Staggs, Roger A                                      As of the petition filing date, the claim is:
         19115 Choctaw Rd                                     Check all that apply.
         Bend, OR 97702                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  54           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               591.47    $_________________
                                                                                                                                                     591.47
         Stone, Courtney E                                    As of the petition filing date, the claim is:
                                                              Check all that apply.
         2965 NE Worthington Ct Apt 1
         Bend, OR 97701                                          Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  55           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             354.82      $_________________
                                                                                                                                                     354.82
         Tomlinson, Aaron                                     Check all that apply.
         520 NE Dalton St # G202
         Bend, OR 97701
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  56          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                163.94   $_________________
                                                                                                                                                      163.94
         Ulam, Keith R                                        As of the petition filing date, the claim is:
         3343 NW Cedar Ave                                    Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  57          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                 2.26    $_________________
                                                                                                                                                       2.26
         Valder, Jonathan                                     As of the petition filing date, the claim is:
         16952 Royal Coachman Dr.                             Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  58           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               196.19    $_________________
                                                                                                                                                     196.19
         Van Amburgh, Micaela L                               As of the petition filing date, the claim is:
                                                              Check all that apply.
         14911 Snaffelbit
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  59           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             944.44      $_________________
                                                                                                                                                     944.44
         Walker, Kevin R                                      Check all that apply.
         68710 Willow Lane
         Sisters, OR 97759
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor         _______________________________________________________
                     Aspen Lakes Golf Course, L.L.C.                                                 Case number (if known)_____________________________________
                                                                                                                            18-32265
                    Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  60          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                459.01   $_________________
                                                                                                                                                      459.01
         Weisman, Wyatt F                                     As of the petition filing date, the claim is:
         982 NW Madras Hwy                                    Check all that apply.
         Prineville, OR 97754                                    Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____
  61          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                               372.68    $_________________
                                                                                                                                                     372.68
         Welch, Jake A                                        As of the petition filing date, the claim is:
         1019 Yapoah Crater Drive                             Check all that apply.
         Sisters, OR 97759                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  62           Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                 8.96    $_________________
                                                                                                                                                       8.96
         Whitley, Seth                                        As of the petition filing date, the claim is:
                                                              Check all that apply.
         4035 SW Majestic Avenue
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           
                                                              ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2.______
  63           Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________
                                                                                                                             711.14      $_________________
                                                                                                                                                     711.14
         Wright, Destiny R.                                   Check all that apply.
         844 Yoseimittee Falls Drive
         Redmond, OR 97756
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                          ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
     Debtor        _______________________________________________________
                    Aspen Lakes Golf Course, L.L.C.                                                  Case number (if known)_____________________________________
                                                                                                                            18-32265
                   Name



    Part 1.    Additional Page


    Copy this page if more space is needed. Continue numbering the lines sequentially from the
    previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.             Total claim               Priority amount



2._____
  64          Priority creditor’s name and mailing address
                                                                                                              $______________________
                                                                                                                                503.91   $_________________
                                                                                                                                                      503.91
         Wright, Peyton                                       As of the petition filing date, the claim is:
         543 Goshawk Drive                                    Check all that apply.
         Redmond, OR 97756                                       Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
                                                              Employee
        _________________________________
         43278

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                           ✘ No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)
                                   4A


2._____       Priority creditor’s name and mailing address
                                                                                                              $______________________    $_________________
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
        _________________________________

        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                            No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)

2.______       Priority creditor’s name and mailing address
                                                                                                              $______________________    $_________________
                                                              As of the petition filing date, the claim is:
                                                              Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed


        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
        _________________________________
        Last 4 digits of account                              Is the claim subject to offset?
        number      _______________                            No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)

2.______       Priority creditor’s name and mailing address
                                                              As of the petition filing date, the claim is: $______________________      $_________________
                                                              Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

        Date or dates debt was incurred                        Basis for the claim:
                                                              __________________________________
        _________________________________

        Last 4 digits of account                              Is the claim subject to offset?
        number      ________________                           No
                                                               Yes
        Specify Code subsection of PRIORITY unsecured
        claim: 11 U.S.C. § 507(a) (_____)




O                                             Schedule
                                            Case       E/F: Creditors Who Have
                                                 18-32265-tmb11            DocUnsecured
                                                                                65 FiledClaims
                                                                                             07/25/18
    Debtor            _______________________________________________________
                       Aspen Lakes Golf Course, L.L.C.                                                                                               18-32265
                                                                                                                              Case number (if known)_____________________________________
                      Name


    Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

    3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 4 creditors with nonpriority
       unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                                                 Amount of claim

3.1 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:
                                                                                                Check all that apply.                                         $________________________________
                                                                                                                                                                                       1,194.00
       1-2-1 Marketing
       151 N Maitland Ave, #948193
                                                                                                    Contingent
       Maitland, FL 32751                                                                           Unliquidated
                                                                                                    Disputed

                                                                                                Basis for the claim: ______________________________________
                                                                                                                      Accounts Payable


       Date or dates debt was incurred                        ___________________                Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes

3.2 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:
                                                                                                Check all that apply.                                         $________________________________
                                                                                                                                                                                         852.00
       Absolute Fire Protection, LLC
       PO Box 6392
                                                                                                    Contingent
       Bend, OR 97708
                                                                                                    Unliquidated
                                                                                                    Disputed

                                                                                                                                             Accounts Payable
        Basis for the claim: _______________________________________

       Date or dates debt was incurred                        ___________________               Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes

3.3 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:                                          1,750.00
                                                                                                Check all that apply.                                         $________________________________
       Aileen & Tyler Weaver
       20456 SW Marimar St.                                                                         Contingent
       Beaverton, OR 97078                                                                          Unliquidated
                                                                                                    Disputed

        Basis for the claim: _______________________________________
                                                                                                                                             Accounts Payable

       Date or dates debt was incurred                        ___________________               Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes

3.4 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:
                                                                                                Check all that apply.                                         $________________________________
                                                                                                                                                                                       1,847.79
       Aloha Produce
       20576 Painter Street
                                                                                                    Contingent
       Bend, OR 97701
                                                                                                    Unliquidated
                                                                                                    Disputed

                                                                                                Basis for the claim: ______________________________________
                                                                                                                      Accounts Payable


       Date or dates debt was incurred                        ___________________               Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes

3.5 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:
       Alyssia Norris                                                                           Check all that apply.                                         $________________________________
                                                                                                                                                                                       1,750.00

       3593 SW Pumica Ave                                                                           Contingent
       Redmond, OR 97756                                                                            Unliquidated
                                                                                                    Disputed

                                                                                                Basis for the claim: ______________________________________
                                                                                                                      Accounts Payable

       Date or dates debt was incurred                        ___________________               Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes

3.6 Nonpriority creditor’s name and mailing address                                             As of the petition filing date, the claim is:
                                                                                                Check all that apply.                                         $________________________________
                                                                                                                                                                                       1,750.00
       Andrew & Sadaf
       1895 NW Remarkable Drive                                                                     Contingent
       Bend, OR 97703-5430                                                                          Unliquidated
                                                                                                    Disputed

                                                                                                Basis for the claim: ______________________________________
                                                                                                                      Accounts Payable

       Date or dates debt was incurred                        ___________________               Is the claim subject to offset?
                                                                                                
                                                                                                ✘    No
       Last 4 digits of account number                        _______________                       Yes


O                                                               Schedule E/F: Creditors Who Have Unsecured Claims
                                                        Case 18-32265-tmb11                              Doc 65             Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                          18-32265
                                                                                                  Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                  $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  7      1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      335,852.20
                                                                                                                               $________________________________
                                                                          Check all that apply.
         Aspen Investments, L.L.C.
                                                                             Contingent
         16900 Aspen Lakes Dr
         Sisters, OR 97759
                                                                             Unliquidated
                                                                             Disputed



                                                                                                Accounts Payable
                                                                          %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes



3.______
  8      1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                28,220.44
                                                                          Check all that apply.                                $________________________________
         Aspen Lakes Uitlity Company, L.L.C.
         16900 Aspen Lakes Dr                                                Contingent
         Sisters, OR 97759                                                   Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  9      1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                           60.00
                                                                                                                               $________________________________
         Barnes Quality Pest Control Inc                                  Check all that apply.
         1030 S.E. 3rd #6                                                    Contingent
         Bend, OR 97702                                                      Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP _____________________________________
                                                                                               Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  10     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 1,500.00
                                                                          Check all that apply.                                $________________________________
         Battery Systems
         12322 Monarch Street
                                                                             Contingent
         Garden Grove, CA 92841                                              Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           ___ ___ ___ ___          Yes



3.______
  11     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                    88.48
         Baxter Auto Parts
                                                                          Check all that apply.                                $________________________________
         9444 N Whitaker Road                                                Contingent
         Portland, OR 97217                                                  Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes




O                                              Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                    18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor          Aspen Lakes Golf Course, L.L.C.
                    _______________________________________________________
                                                                                                                          18-32265
                                                                                                  Case number (if known)_____________________________________
                    Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                  $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  12     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        1,750.00
                                                                                                                               $________________________________
                                                                          Check all that apply.
         Brad Moore
                                                                             Contingent
         Unknown                                                             Unliquidated
                                                                             Disputed



                                                                                                Accounts Payable
                                                                          %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes



3.______
  13     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 2,409.99
                                                                          Check all that apply.                                $________________________________
         Bridgestone Golf, Inc.
         P.O. Box 2908                                                       Contingent
         Carol Stream, IL 60132-2908                                         Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  14     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                          197.29
                                                                                                                               $________________________________
         Canon Financial Services, Inc.                                   Check all that apply.
         14904 Collections Center Drive                                      Contingent
         Chicago, IL 60693-0149                                              Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP _____________________________________
                                                                                               Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  15     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   100.00
                                                                          Check all that apply.                                $________________________________
         Carrie Rosenberg
         9309 Sand Verbena Trail NE
                                                                             Contingent
         Albuquerque, NM 87122                                               Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           ___ ___ ___ ___          Yes



3.______
  16     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 3,678.04
         Cascade Heating & Specialties, Inc.
                                                                          Check all that apply.                                $________________________________
         1507 N.E. First, Suite A                                            Contingent
         Bend, OR 97701                                                      Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes




O                                              Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
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     Debtor          Aspen Lakes Golf Course, L.L.C.
                    _______________________________________________________
                                                                                                                           18-32265
                                                                                                   Case number (if known)_____________________________________
                    Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                   $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  17     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                       $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                           300.00
                                                                                                                                $________________________________
                                                                           Check all that apply.
         Cascade Wedding Show fka Central Oregon Weddings
                                                                              Contingent
         704 NW Georgia Avenue
         Bend, OR 97703
                                                                              Unliquidated
                                                                              Disputed



                                                                                                 Accounts Payable
                                                                           %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG            ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                           
                                                                           ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU            _______________          Yes



3.______
  18     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                    25.61
                                                                           Check all that apply.                                $________________________________
         Central Electric Coop 0088 ASPL ClubH
         PO Box 846                                                           Contingent
         Redmond, OR 97756-0187                                               Unliquidated
                                                                              Disputed

                                                                           %DVLVIRUWKHFODLP ______________________________________
                                                                                                 Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG            ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                           
                                                                           ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU            _______________          Yes


3.______
  19     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                            69.28
                                                                                                                                $________________________________
         Central Electric Coop 0100 Maint                                  Check all that apply.
         PO Box 846                                                           Contingent
         Redmond, OR 97756-0187                                               Unliquidated
                                                                              Disputed

                                                                           %DVLVIRUWKHFODLP _____________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG            ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                           
                                                                           ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU            _______________          Yes


3.______
  20     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                    47.51
                                                                           Check all that apply.                                $________________________________
         Central Electric Coop 6100 CRT-Restrooms
         PO Box 846
                                                                              Contingent
         Redmond, OR 97756-0187                                               Unliquidated
                                                                              Disputed

                                                                           %DVLVIRUWKHFODLP ______________________________________
                                                                                                 Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG            ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                           
                                                                           ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU            ___ ___ ___ ___          Yes



3.______
  21     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                           $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 1,316.35
         Central Electric Cooperative
                                                                           Check all that apply.                                $________________________________
         PO Box 846                                                           Contingent
         Redmond, OR 97756-0187                                               Unliquidated
                                                                              Disputed

                                                                           %DVLVIRUWKHFODLP ______________________________________
                                                                                                 Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG            ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                           
                                                                           ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU            _______________          Yes




O                                            Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                  18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                          18-32265
                                                                                                  Case number (if known)_____________________________________
                   Name



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     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                  $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  22     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                          729.43
                                                                                                                               $________________________________
                                                                          Check all that apply.
         CIT Group/Commercial Services, Inc.
                                                                             Contingent
         PO Box 1036,
         Charlotte, NC 28201-1036
                                                                             Unliquidated
                                                                             Disputed



                                                                                                Accounts Payable
                                                                          %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes



3.______
  23     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   140.64
                                                                          Check all that apply.                                $________________________________
         Copiers Northwest
         601 Dexter Ave. N                                                   Contingent
         Seattle, WA 98109                                                   Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  24     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                          360.20
                                                                                                                               $________________________________
         Eberhard's Dairy Products                                        Check all that apply.
         P.O. Box 845                                                        Contingent
         Redmond, OR 97756                                                   Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP _____________________________________
                                                                                               Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes


3.______
  25     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   664.05
                                                                          Check all that apply.                                $________________________________
         Ed Staub & Sons
         P.O. Box 1244
                                                                             Contingent
         Redmond, OR 97756                                                   Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           ___ ___ ___ ___          Yes



3.______
  26     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                          $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 1,750.00
         Emilee & Jordan Wagoner
                                                                          Check all that apply.                                $________________________________
         Unknown                                                             Contingent
                                                                             Unliquidated
                                                                             Disputed

                                                                          %DVLVIRUWKHFODLP ______________________________________
                                                                                                Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG           ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                          
                                                                          ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU           _______________          Yes




O                                              Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                    18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor          Aspen Lakes Golf Course, L.L.C.
                    _______________________________________________________
                                                                                                                       18-32265
                                                                                                 Case number (if known)_____________________________________
                    Name



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     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                 $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  27     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                     $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                       2,192.00
                                                                                                                              $________________________________
                                                                       Check all that apply.
         Folds of Honor Foundation
                                                                          Contingent
         5800 North Patriot Drive
         Owasso, OK 74055
                                                                          Unliquidated
                                                                          Disputed



                                                                                             Accounts Payable
                                                                       %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG        ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                       
                                                                       ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU        _______________          Yes



3.______
  28     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                       $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     316.29
                                                                       Check all that apply.                                  $________________________________
         Franz Family Bakeries
         PO Box 742654                                                    Contingent
         Los Angeles, CA 90074-2654                                       Unliquidated
                                                                          Disputed

                                                                       %DVLVIRUWKHFODLP ______________________________________
                                                                                             Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG        ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                       
                                                                       ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU        _______________          Yes


3.______
  29     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                       $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                         250.00
                                                                                                                              $________________________________
         Fred Meyer                                                    Check all that apply.
         Unknown                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed

                                                                       %DVLVIRUWKHFODLP _____________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG        ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                       
                                                                       ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU        _______________          Yes


3.______
  30     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                       $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,750.00
                                                                       Check all that apply.                                  $________________________________
         Gina & Chris Elliott
         Unknown
                                                                          Contingent
                                                                          Unliquidated
                                                                          Disputed

                                                                       %DVLVIRUWKHFODLP ______________________________________
                                                                                             Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG        ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                       
                                                                       ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU        ___ ___ ___ ___          Yes



3.______
  31     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                       $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   2,648.00
         Golf Boards
                                                                       Check all that apply.                                  $________________________________
         61239 Tetherow Dr. #211                                          Contingent
         Bend, OR 97702                                                   Unliquidated
                                                                          Disputed

                                                                       %DVLVIRUWKHFODLP ______________________________________
                                                                                             Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG        ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                       
                                                                       ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU        _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  32     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        225.61
                                                                                                                             $________________________________
                                                                      Check all that apply.
         H.D. Fowler Company
                                                                         Contingent
         P.O. Box 84368
         Seattle, WA 98124-5668
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  33     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     426.84
                                                                      Check all that apply.                                  $________________________________
         High Country Disposal
         P.O. Box 296                                                    Contingent
         Redmond, OR 97756                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  34     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      1,212.64
                                                                                                                             $________________________________
         High Desert Automotive Supply                                Check all that apply.
         2250 S Hwy 97                                                   Contingent
         Redmond, OR 97756                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  35     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     450.00
                                                                      Check all that apply.                                  $________________________________
         Inside Golf Newspaper
         PO Box 1890
                                                                         Contingent
         Port Townsend, WA 98368                                         Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  36     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,750.00
         Kelsi Choquette
                                                                      Check all that apply.                                  $________________________________
         Unknown                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  37     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        958.00
                                                                                                                             $________________________________
                                                                      Check all that apply.
         Ken Yegge
                                                                         Contingent
         PO Box 950
         Redmond, OR 97756
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  38     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,750.00
                                                                      Check all that apply.                                  $________________________________
         Marci Calavan
         Unknown                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  39     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      1,750.00
                                                                                                                             $________________________________
         Mary & Jeff Weisensee                                        Check all that apply.
         12006 SE 36th Ave                                               Contingent
         Milwaukie, OR 97222                                             Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  40     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   6,580.12
                                                                      Check all that apply.                                  $________________________________
         McDonald Wholesale Co,
         PO Box 2340
                                                                         Contingent
         Eugene, OR 97402                                                Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  41     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,232.00
         Metolius Enterprises
                                                                      Check all that apply.                                  $________________________________
         P.O. Box 534                                                    Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  42     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        699.72
                                                                                                                             $________________________________
                                                                      Check all that apply.
         Mission Uniform and Linen
                                                                         Contingent
         1405 NE 1st Street
         Bend, OR 97701
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  43     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     100.00
                                                                      Check all that apply.                                  $________________________________
         Monica Henry
         Unknown                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  44     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      1,750.00
                                                                                                                             $________________________________
         Nicole Cicero                                                Check all that apply.
         266 Burns Street                                                Contingent
         Forest Hills, NY 11375                                          Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  45     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,750.00
                                                                      Check all that apply.                                  $________________________________
         Nicole Webb and Cary
         2019 Oak St. # C
                                                                         Contingent
         Santa Monica, CA 90405                                          Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  46     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                      47.13
         Nike USA, Inc.
                                                                      Check all that apply.                                  $________________________________
         PO Box 847648                                                   Contingent
         Dallas, TX 75284-7648                                           Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  47     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                          7.53
                                                                                                                             $________________________________
                                                                      Check all that apply.
         Norco, Inc.
                                                                         Contingent
         P.O. Box 413124
         Salt Lake City, UT 84141-3124
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  48     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     824.80
                                                                      Check all that apply.                                  $________________________________
         Nugget Newspaper
         P.O. Box 698                                                    Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  49     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        151.62
                                                                                                                             $________________________________
         OLCC                                                         Check all that apply.
         P.O.Box 22297                                                   Contingent
         Milwaukie, OR 97269                                             Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  50     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,289.53
                                                                      Check all that apply.                                  $________________________________
         Oregon Equipment Service Corp.
         180 NE Irving Ave.
                                                                         Contingent
         Bend, OR 97701                                                  Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  51     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   4,127.37
         Oregon Golf Association
                                                                      Check all that apply.                                  $________________________________
         2840 Hazelnut Drive                                             Contingent
         Woodburn, OR 97071                                              Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  52     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      1,291.08
                                                                                                                             $________________________________
                                                                      Check all that apply.
         Otis Elevator
                                                                         Contingent
         PO Box 73579
         Chicago, IL 60673-7579
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  53     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     464.95
                                                                      Check all that apply.                                  $________________________________
         Pelzer Golf Supplies
         12717 SE Carpenter Dr                                           Contingent
         Clackamas, OR 97015                                             Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  54     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        353.91
                                                                                                                             $________________________________
         Range Servant America Inc.                                   Check all that apply.
         3000 Center Place, Suite 300                                    Contingent
         Norcross, GA 30093                                              Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  55     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,596.62
                                                                      Check all that apply.                                  $________________________________
         Rodney Rice, CPA, PC
         120 Hickory St. NW
                                                                         Contingent
         Albany, OR 97321                                                Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  56     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                  10,500.00
         Rogue 5 Media Inc.
                                                                      Check all that apply.                                  $________________________________
         1574 Coburg Road, #206                                          Contingent
         Eugene, OR 97401                                                Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  57     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      1,004.23
                                                                                                                             $________________________________
                                                                      Check all that apply.
         SAIF Corporation
                                                                         Contingent
         400 High Street SE
         Salem, OR 97312-1520
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  58     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     500.00
                                                                      Check all that apply.                                  $________________________________
         Sandy Bowe
         14467 Pole Ct                                                   Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  59     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        658.76
                                                                                                                             $________________________________
         SecureCom, Inc.                                              Check all that apply.
         1940 Don Street, Suite 100                                      Contingent
         Springfield, OR 97477-5911                                      Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  60     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                  16,205.68
                                                                      Check all that apply.                                  $________________________________
         Simplot Partners
         11600 NE Marx Street
                                                                         Contingent
         Portland, OR 97220                                              Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  61     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   8,655.27
         Sisters Aggregate, LLC
                                                                      Check all that apply.                                  $________________________________
         16900 Aspen Lakes Dr                                            Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  62     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        336.00
                                                                                                                             $________________________________
                                                                      Check all that apply.
         Sisters Chamber of Commerce
                                                                         Contingent
         P.O. Box 430
         Sisters, OR 97759
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  63     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     651.33
                                                                      Check all that apply.                                  $________________________________
         Sisters Rental
         P.O. Box 781                                                    Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  64     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        442.85
                                                                                                                             $________________________________
         Sysco Food Services                                          Check all that apply.
         P.O. Box 2210                                                   Contingent
         Wilsonville, OR 97070                                           Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  65     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     407.76
                                                                      Check all that apply.                                  $________________________________
         Taylor Made Golf Company, Inc.
         29516 Network Place
                                                                         Contingent
         Chicago, IL 60673-1295                                          Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______
  66     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                  11,949.30
         The Antigua Group, INC.
                                                                      Check all that apply.                                  $________________________________
         PO Box 5300                                                     Contingent
         Peoria, AZ 85385-5300                                           Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
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     Debtor           Aspen Lakes Golf Course, L.L.C.
                     _______________________________________________________
                                                                                                                        18-32265
                                                                                                  Case number (if known)_____________________________________
                     Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                  $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  67     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                       18,512.53
                                                                                                                               $________________________________
                                                                        Check all that apply.
         Thermo King Northwest, Inc.
                                                                           Contingent
         P.O. Box 94098
         Seattle, WA 98124-9498
                                                                           Unliquidated
                                                                           Disputed



                                                                                              Accounts Payable
                                                                        %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG         ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                        
                                                                        ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU         _______________          Yes



3.______
  68     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   4,187.83
                                                                        Check all that apply.                                  $________________________________
         Titleist - Acushnet Company
         P.O.Box 88112                                                     Contingent
         Chicago, IL 60695-1112                                            Unliquidated
                                                                           Disputed

                                                                        %DVLVIRUWKHFODLP ______________________________________
                                                                                              Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG         ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                        
                                                                        ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU         _______________          Yes


3.______
  69     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                          100.00
                                                                                                                               $________________________________
         Tom & Linda Hespe                                              Check all that apply.
         17427 Forked Horn Dr.                                             Contingent
         Sisters, OR 97759                                                 Unliquidated
                                                                           Disputed

                                                                        %DVLVIRUWKHFODLP _____________________________________
                                                                                             Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG         ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                        
                                                                        ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU         _______________          Yes


3.______
  70     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   1,000.00
                                                                        Check all that apply.                                  $________________________________
         Tracy Orr
         69280 Goodrich Road
                                                                           Contingent
         Sisters, OR 97759                                                 Unliquidated
                                                                           Disputed

                                                                        %DVLVIRUWKHFODLP ______________________________________
                                                                                              Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG         ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                        
                                                                        ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU         ___ ___ ___ ___          Yes



3.______
  71     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                        $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                     500.00
         Triple C Farms
                                                                        Check all that apply.                                  $________________________________
         16925 Green Drake Court                                           Contingent
         Sisters, OR 97759                                                 Unliquidated
                                                                           Disputed

                                                                        %DVLVIRUWKHFODLP ______________________________________
                                                                                              Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG         ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                        
                                                                        ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU         _______________          Yes




O                                           Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                 18-32265-tmb11 Doc 65 Filed 07/25/18
     Debtor         Aspen Lakes Golf Course, L.L.C.
                   _______________________________________________________
                                                                                                                      18-32265
                                                                                                Case number (if known)_____________________________________
                   Name



    Part 2:    Additional Page


     &RS\WKLVSDJHRQO\LIPRUHVSDFHLVQHHGHG&RQWLQXHQXPEHULQJWKHOLQHVVHTXHQWLDOO\IURPWKH
                                                                                                                                $PRXQWRIFODLP
     SUHYLRXVSDJH,IQRDGGLWLRQDO12135,25,7<FUHGLWRUVH[LVWGRQRWILOORXWRUVXEPLWWKLVSDJH


3.______
  72     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV                    $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                        110.00
                                                                                                                             $________________________________
                                                                      Check all that apply.
         USGA
                                                                         Contingent
         P.O. Box 5008
         Hagerstown, MD 21741-5008
                                                                         Unliquidated
                                                                         Disputed



                                                                                            Accounts Payable
                                                                      %DVLVIRUWKHFODLP _______________________________________ 

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes



3.______
  73     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                   2,000.00
                                                                      Check all that apply.                                  $________________________________
         Varsity Communications, Inc.
         4114 198th St. SW, Ste. 5                                       Contingent
         Lynnwood, WA 98036                                              Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  74     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV
                                                                                                                                                      4,131.89
                                                                                                                             $________________________________
         Western Equipment Dist. Inc.                                 Check all that apply.
         PO Box 45621                                                    Contingent
         San Francisco, CA 94145-0621                                    Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP _____________________________________
                                                                                           Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes


3.______
  75     1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                1,356,680.82
                                                                      Check all that apply.                                  $________________________________
         Wildhorse Meadows, LLC
         16900 Aspen Lakes Dr
                                                                         Contingent
         Sisters, OR 97759                                               Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________
                                                                                            Accounts Payable                      

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                      
                                                                      ✘   No
        /DVWGLJLWVRIDFFRXQWQXPEHU       ___ ___ ___ ___          Yes



3.______ 1RQSULRULW\FUHGLWRU¶VQDPHDQGPDLOLQJDGGUHVV
                                                                      $VRIWKHSHWLWLRQILOLQJGDWHWKHFODLPLV                                 120,966.10
         "See Attached"
                                                                      Check all that apply.                                  $________________________________
                                                                         Contingent
                                                                         Unliquidated
                                                                         Disputed

                                                                      %DVLVIRUWKHFODLP ______________________________________

        'DWHRUGDWHVGHEWZDVLQFXUUHG       ___________________   ,VWKHFODLPVXEMHFWWRRIIVHW"
                                                                         No
        /DVWGLJLWVRIDFFRXQWQXPEHU       _______________          Yes




O                                          Case6FKHGXOH()&UHGLWRUV:KR+DYH8QVHFXUHG&ODLPV
                                                18-32265-tmb11 Doc 65 Filed 07/25/18
    Debtor        Aspen Lakes Golf Course, L.L.C.
                 _______________________________________________________                                     18-32265
                                                                                      Case number (if known)_____________________________________
                 Name



Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                              Total of claim amounts



5a. Total claims from Part 1                                                                     5a.                              79,386.26
                                                                                                              $_____________________________




5b. Total claims from Part 2                                                                     5b.    +     $_____________________________
                                                                                                                               1,985,849.41




5c. Total of Parts 1 and 2                                                                                                     2,065,235.67
                                                                                                 5c.          $_____________________________
      Lines 5a + 5b = 5c.




O                                         Schedule E/F: Creditors Who Have Unsecured Claims
                                        Case 18-32265-tmb11                Doc 65    Filed 07/25/18
 Fill in this information to identify the case:

 Debtor name BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
              Aspen Lakes Golf Course, L.L.C.

                                          District of Oregon
 United States Bankruptcy Court for the:BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                           18-32265                                        Chapter 11
 Case number (If knoZQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB&hapterBBBBBBBBBBBBBBBB



                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        ✘ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or     IT Support
 2.1     lease is for and the nature                                                      1-21-Marketing
         of the debtor’s interest
                                                                                          151 N. Maitland Ave #948193
                                                                                          Maitland, FL 32751
         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     Wedding/Anniversary Event
                                                                                          Aileen & Tyler Weaver
 2.2     lease is for and the nature
         of the debtor’s interest                                                         20456 SW Marimar St.
                                                                                          Beaverton, OR 97078
         State the term remaining       43358

         List the contract number of
         any government contract

                                        Wedding/Anniversary Event
         State what the contract or                                                       Alyssia Norris
 2.3     lease is for and the nature
         of the debtor’s interest                                                         3593 SW Pumica Ave
                                                                                          Redmond, OR 97756
                                        43400
         State the term remaining
         List the contract number of
         any government contract


         State what the contract or     Wedding/Anniversary Event
 2.4                                                                                      Andrew & Sadaf
         lease is for and the nature
         of the debtor’s interest                                                         1895 NW Remarkable Drive
                                                                                          Bend, OR 97703-5430
         State the term remaining       43330

         List the contract number of
         any government contract

                                        Landscape maintenance agreement
         State what the contract or                                                       Aspen Lakes Estate Owners, Inc.
 2.5     lease is for and the nature
         of the debtor’s interest                                                         c/o Northwest Association Management
                                                                                          805 SW Industrial Way
                                                                                          Bend, OR 97702
         State the term remaining
         List the contract number of
         any government contract




                                           Schedule G: Executory Contracts and Unexpired Leases
                                          Case 18-32265-tmb11 Doc 65 Filed 07/25/18
        Aspen Lakes Golf Course, L.L.C.
Debtor BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                     18-32265
                                                                                     Case number (if known) BBBBBBBBBBBBBBBBBBBBBBBBBBB
             Name




         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease


       State what the contract or    Pool maintenance agreement
 2.BBB
    6 lease is for and the nature                                             Aspen Lakes Estate Owners, Inc.
       of the debtor’s interest
                                                                              c/o Northwest Association Management
                                                                              805 SW Industrial Way
       State the term remaining                                               Bend, OR 97702
       List the contract number of
       any government contract


       State what the contract or    Utility
 2.BBB
    7 lease is for and the nature                                             Aspen Lakes Utility Company, LLC
       of the debtor’s interest
                                                                              16900 Aspen Lakes Dr
                                                                              Sisters, OR 97759
       State the term remaining
       List the contract number of
       any government contract


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    8 lease is for and the nature                                             Brad Moore
       of the debtor’s interest
                                                                              Unknown
       State the term remaining      43281
       List the contract number of
       any government contract

       State what the contract or    Wedding/Anniversary Event
 2.BBB
    9 lease is for and the nature                                             Carrie Rosenberg
       of the debtor’s interest
                                                                              9309 Sand Verbena Trail NE
                                                                              Albuquerque, NM 87122
       State the term remaining      43280
       List the contract number of
       any government contract


       State what the contract or    Service Agreement
                                                                              Copiers Northwest
 2._BBB
   10 lease is for and the nature
       of the debtor’s interest                                               601 Dexter Ave N
                                                                              Seattle, WA 98109
       State the term remaining
       List the contract number of
       any government contract

       State what the contract or     Wedding/Anniversary Event
 2.BBB
    11 lease is for and the nature                                            Emilee & Jordan Wagoner
       of the debtor’s interest
                                                                              Unknown
       State the term remaining       43547
       List the contract number of
       any government contract

       State what the contract or     Wedding/Anniversary Event
                                                                              Fred Meyer
 2.BBB
    12 lease is for and the nature
       of the debtor’s interest
                                                                              Unknown

       State the term remaining       43298
       List the contract number of
       any government contract



                                          Schedule G: Executory Contracts and Unexpired Leases
                                         Case  18-32265-tmb11 Doc 65 Filed 07/25/18
        Aspen Lakes Golf Course, L.L.C.
Debtor BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                     18-32265
                                                                                     Case number (if known) BBBBBBBBBBBBBBBBBBBBBBBBBBB
             Name




         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    13 lease is for and the nature                                            Gina & Chris Elliott
       of the debtor’s interest
                                                                              Unknown
       State the term remaining      43337

       List the contract number of
       any government contract


       State what the contract or    Lease
 2.BBB
    14 lease is for and the nature                                            John Deere Financial
       of the debtor’s interest
                                                                              PO Box 6600
                                                                              Johnston, IA 50131-6600
       State the term remaining      4/1/2019
       List the contract number of
       any government contract


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    15 lease is for and the nature                                            Kelsi Choquette
       of the debtor’s interest
                                                                              Unknown
       State the term remaining      43645
       List the contract number of
       any government contract

       State what the contract or    Wedding/Anniversary Event
 2.BBB
    16 lease is for and the nature                                            Marci Calavan
       of the debtor’s interest
                                                                              Unknown

       State the term remaining      43372
       List the contract number of
       any government contract


       State what the contract or    Wedding/Anniversary Event
                                                                              Mary & Jeff Weisensee
 2._BBB
   17 lease is for and the nature
       of the debtor’s interest                                               12006 SE 36th Ave
                                                                              Milwaukie, OR 97222
       State the term remaining      43344

       List the contract number of
       any government contract

       State what the contract or    Wedding/Anniversary Event
 2.BBB
    18 lease is for and the nature                                            Monica Henry
       of the debtor’s interest
                                                                              Unknown
       State the term remaining      43336
       List the contract number of
       any government contract

       State what the contract or    Wedding/Anniversary Event
                                                                              Nicole Cicero
 2.BBB
    19 lease is for and the nature
       of the debtor’s interest
                                                                              266 Burns Street
                                                                              Forest Hills, NY 11375
       State the term remaining      43345
       List the contract number of
       any government contract



                                         Schedule G: Executory Contracts and Unexpired Leases
                                        Case  18-32265-tmb11 Doc 65 Filed 07/25/18
        Aspen Lakes Golf Course, L.L.C.
Debtor BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                                     18-32265
                                                                                     Case number (if known) BBBBBBBBBBBBBBBBBBBBBBBBBBB
             Name




         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

       Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

    List all contracts and unexpired leases                                  State the name and mailing address for all other parties with
                                                                             whom the debtor has an executory contract or unexpired lease


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    20 lease is for and the nature                                            Nicole Webb and Cary
       of the debtor’s interest
                                                                              2019 Oak St. # C
                                                                              Santa Monica, CA 90405
       State the term remaining      43295

       List the contract number of
       any government contract


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    21 lease is for and the nature                                            Sandy Bowe
       of the debtor’s interest
                                                                              14467 Pole Ct
                                                                              Sisters, OR 97759
       State the term remaining      43379
       List the contract number of
       any government contract


       State what the contract or    Wedding/Anniversary Event
 2.BBB
    22 lease is for and the nature                                            Tom & Linda Hespe
       of the debtor’s interest
                                                                              17427 Forked Horn Dr.
                                                                              Sisters, OR 97759
       State the term remaining      43378
       List the contract number of
       any government contract

       State what the contract or    Wedding/Anniversary Event
 2.BBB
    23 lease is for and the nature                                            Tracy Orr
       of the debtor’s interest
                                                                              69280 Goodrich Road
                                                                              Sisters, OR 97759
       State the term remaining      43287
       List the contract number of
       any government contract


       State what the contract or    Lease
                                                                              Wildhorse Meadows, LLC
 2._BBB
   24 lease is for and the nature
       of the debtor’s interest                                               16900 Aspen Lakes Dr
                                                                              Sisters, OR 97759
       State the term remaining
       List the contract number of
       any government contract

       State what the contract or    "See Attached"
 2.BBB lease is for and the nature
       of the debtor’s interest

       State the term remaining
       List the contract number of
       any government contract

       State what the contract or
 2.BBB lease is for and the nature
       of the debtor’s interest

       State the term remaining
       List the contract number of
       any government contract



                                         Schedule G: Executory Contracts and Unexpired Leases
                                        Case  18-32265-tmb11 Doc 65 Filed 07/25/18
 Fill in this information to identify the case:

              Aspen Lakes Golf Course, L.L.C.
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:________________________________________
                                         District of Oregon

 Case number (If known):     18-32265
                            _________________________




                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    
    ✘   Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
    creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
    schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

     Column 1: Codebtor                                                                                Column 2: Creditor

              Name$QGMailing address                                                                                                    Check all schedules
                                                                                                       Name
                                                                                                                                          that apply:

                                                                                                      GT Capital
2.1 Aspen Investments, L.L.C.                                                                                                             ✘ D
                                                                                                                                          
    16900 Aspen Lakes Dr                                                                                                                   E/F
    Sisters, OR 97759                                                                                                                      G




2.2 Aspen Lakes Utility Company, L.LC.                                                                GT Capital
                                                                                                                                          ✘ D
                                                                                                                                          
     16900 Aspen Lakes Dr                                                                                                                  E/F
     Sisters, OR 97759
                                                                                                                                           G




2.3 Conida E. Cyrus                                                                                   GT Capital
     17204 Hwy 126
                                                                                                                                          ✘ D
                                                                                                                                          
     Sisters, OR 97759                                                                                                                     E/F
                                                                                                                                           G



2.4 Kelly K. Cyrus                                                                                    GT Capital
                                                                                                                                          ✘ D
                                                                                                                                          
     16929 Green Drake Court
                                                                                                                                           E/F
     Sisters, OR 97759
                                                                                                                                           G



2.5 Matthew K. Cyrus                                                                                  GT Capital
                                                                                                                                          ✘ D
                                                                                                                                          
     16929 Green Drake Court                                                                                                               E/F
     Sisters, OR 97759                                                                                                                     G




2.6 O. Keith Cyrus                                                                                    GT Capital
                                                                                                                                          ✘ D
                                                                                                                                          
     17204 Hwy 126                                                                                                                         E/F
     Sisters, OR 97759                                                                                                                     G




                                                     Schedule H: Codebtors
                                         Case 18-32265-tmb11      Doc 65                      Filed 07/25/18
Debtor           Aspen Lakes Golf Course, L.L.C.
                _______________________________________________________                                      18-32265
                                                                                      Case number (if known)_____________________________________
                Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name DQG0DLOLQJ$GGUHVV                                                         Name
                                                                                                                             that apply:

7        Pamela K. Mitchell                                                                GT Capital
                                                                                                                             ✘ D
                                                                                                                             
         69339 Hinkle Butte                                                                                                   E/F
         Sisters, OR 97759                                                                                                    G




         Sisters Aggregate & Construction, L.L.C.                                          GT Capital
8                                                                                                                            ✘ D
                                                                                                                             
         16900 Aspen Lakes Dr                                                                                                 E/F
         Sisters, OR 97759                                                                                                    G




         Wildhorse Meadows, LLC                                                            GT Capital                        ✘ D
9                                                                                                                            
         16900 Aspen Lakes Dr                                                                                                 E/F
         Sisters, OR 97759                                                                                                    G




                                                                                                                              D
                                                                                                                              E/F
                                                                                                                              G




                                                                                                                              D
                                                                                                                              E/F
                                                                                                                              G




                                                                                                                              D
                                                                                                                              E/F
                                                                                                                              G




                                                                                                                              D
                                                                                                                              E/F
                                                                                                                              G




                                                                                                                              D
                                                                                                                              E/F
                                                                                                                              G




                                                        Schedule H: Codebtors
                                             Case 18-32265-tmb11       Doc 65        Filed 07/25/18
  Fill in this information to identify the case and this filing


  Debtor   Name Aspen Lakes Golf Course, L.L.C

  Un¡ted States Bankruptcy Court for the:        District of Oregon

 Case number (/fknown):             18-32265




Official Form 202
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                        12t15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual's position or relat¡onship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING     Bankruptcy fraud is a serious crime. Makíng a false statement, concealing property, or obtaining money or property by fraud in
                -
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, f 341 ,
1519, and 3571.



                Declaration and signature


           I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
           another individual serving as a representative of the debtor in this case.

           I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



           ts       Schedule   NB:    Assefs-Rea/ and Personal Properf¡z (Official Form 2064/8)

           E        Schedute D: CreditorsWho Have Ctaims Secured by Property (Official Form 206D)

           E        Schedute E/F:    CreditorsWho Have tJnsecured C/arms (Official Form 206E/F)

           E        Schedute G: Executory Contracts and lJnexpired Leases (Official Form 206G)

           E        Schedule H: Codebtors (official Form 206H)

           E        Summary    of   Assets   and Liabitities for Non-tndividuals (Official Form 206Sum)

           tr       Amended Schedute


           tr       Chapter 1 1 or Chapter 9 Cases; Lrsf of C reditors Who Have the 20 Largest lJnsecured CtaÌms and Are Not tnsiders (Official Form 204)


           tr       Other document that requires a decla




           I declare under penalty of perjury that the foregoing is true and correct.


           Executed     on     712512018                              *.",/%h_,1
                                                                        -S¡grlãrre
                             MM/DD/YYYY                                              or¡noiffi{ni"gon         behalf of debtor



                                                                         Matt Cyrus
                                                                         Printed name

                                                                          Managing Member
                                                                         Pos¡tion or relationship to debtor




                                                    Declaration Under Penalty of Perjury for Non-lndividual Debtors

                                                  Case 18-32265-tmb11                     Doc 65              Filed 07/25/18
                     Notes to Schedules and Statement of Financial Affairs


Amendments and Reservation of Rights

While the Aspen Lakes Golf Course, L.L.C.’s (“Debtor”) management has exercised best efforts
to ensure that the Schedules and Statements are accurate and complete based on information that
was available at the time of preparation, inadvertent errors, omissions or inaccuracies may exist.
The Debtor reserves all rights to amend or supplement the Schedules and Statements from time to
time as may be necessary and appropriate, but they are under no obligation to do so.

Specific Disclosures to the Schedules of Assets and Liabilities

Causes of Action against Third Parties (AB74). The Debtor may have causes of action against
third parties, but do not have any other ongoing proceedings at this time. Any causes of action
and the ultimate recovery on these causes of action are unknown at this time. Additionally, the
Debtor may also possess contingent claims that are not listed as assets in its Schedules and
Statements in the form of various actions they could commence under the provisions of chapter 5
of the Bankruptcy Code and other relevant non-bankruptcy laws. The Debtor reserves all of their
rights with respect to any claims and causes of action, whether arising under the Bankruptcy Code
or otherwise, that they may have or will have, and nothing contained in the Schedules and
Statements shall be deemed a waiver of any such claims, avoidance actions or causes of action or
in any way prejudice or impair the assertion of such claims. The Debtor further reserves all of
their rights with respect to all causes of action, including, without limitation, all rights relating to
any: (i) controversy; (ii) right of setoff or recoupment; (iii) crossclaim; (iv) counterclaim; (v) claim
arising from a contract; (vi) claim for the breach of any duty imposed by law or in equity;
(vii) demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment,
account, defense, power, privilege, license and franchise of any kind or character whatsoever. This
reservation of rights remains applicable regardless of whether such causes of action are known,
unknown, fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertible directly or derivatively,
whether arising before, on or after the Petition Date, in contract or in tort, in law or in equity, or
pursuant to any other applicable theory of law.

Other Contingent and Unliquidated Claims (AB75). The Debtor may have other contingent and
unliquidated claims. Any other contingent and unliquidated claims and the ultimate recovery on
these claims are unknown at this time.

Schedule G. The Debtor reserves all of their rights to dispute the validity, status or enforceability
of any contracts, agreements or leases set forth on Schedule G and to amend or supplement such
Schedule, as necessary. The contracts, agreements and leases listed on Schedule G may have
expired or may have been modified, amended or supplemented from time to time by various
amendments, restatements, waivers, estoppels, certificates, letters, memoranda and other
documents, instruments and agreements that may not be listed on Schedule G, despite the Debtor's
use of reasonable efforts to identify such documents. The Debtor reserves all rights, claims and
causes of action with respect to the contracts and agreements listed on Schedule G, including the
right to dispute or challenge the characterization or the structure of any transaction, document or


 140385784.1                                     -1-

                       Case 18-32265-tmb11          Doc 65     Filed 07/25/18
instrument. The listing of such real property interests on Schedule G as "executory" does not
constitute an admission by the Debtor that any such contract is executory. The Debtor reserves all
rights to recategorize and/or recharacterize their interests in such real property at a later date, as
necessary.

Certain of the contracts, agreements and leases listed on Schedule G may contain renewal options,
guarantees of payments, options to purchase, rights of first refusal, rights to lease additional space
and other miscellaneous rights. Such rights, powers, duties and obligations are not separately set
forth on Schedule G. Unless otherwise identified on Schedule G, each contract, agreement and
lease identified therein shall include all exhibits, schedules, riders, modifications, declarations,
amendments, supplements, attachments, restatements or other agreements made directly or
indirectly by any such agreement, instrument or other document that in any manner affects such
contract, agreement and lease, without respect to whether such contract, agreement and lease is
listed therein.

Specific Disclosures and Assumptions to the Statement of Financial Affairs

Part 2, Question 4 and Part 13, Question 30 — Payments, Distributions or Withdrawals to Insiders.
The listing of payments in this response should not be construed as an acknowledgement that any
payee qualifies as an insider as defined in 11 U.S.C. § 101. In the interest of full disclosure and
an excess of caution the Debtor has listed payments to all persons who may be construed as related
to the Debtor.




 140385784.1                                    -2-

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